Fill in this information to identify your case:


United States Bankruptcy Court for the:

MIDDLE DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an amended
                                                                                                                              filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ebury Street Capital, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1357 Avenue Ashford Suite 2                                     644 Fernandez Juncos Avenue
                                  San Juan, PR 00907                                              San Juan, PR 00907
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Juan                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1357 Avenue Ashford Suite 2 San Juan, PR 00907
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




                    Case 24-10499            Doc 1       Filed 05/13/24 Entered 05/13/24 16:35:35                              Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                            Document    Page 1 of 5
Debtor    Ebury Street Capital, LLC                                                                    Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the               Chapter 7
     debtor filing?
                                          Chapter 9
     A debtor who is a “small
                                          Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if any
                                                                 of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the        Yes.
     debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                  Relationship
                                                 District                                 When                              Case number, if known
                    Case 24-10499                Doc 1       Filed 05/13/24 Entered 05/13/24 16:35:35                                   Desc Main
Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                                                Document    Page 2 of 5
Debtor   Ebury Street Capital, LLC                                                                 Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




                    Case 24-10499            Doc 1        Filed 05/13/24 Entered 05/13/24 16:35:35                                 Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                                                             Document    Page 3 of 5
Debtor    Ebury Street Capital, LLC                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       May 13, 2024
                                                   MM / DD / YYYY


                              X /s/ John A. Hanratty                                                       John A. Hanratty
                                  Signature of authorized representative of debtor                         Printed name

                                  Title   Managing Member




18. Signature of attorney     X /s/ Richard Scott Williams                                                  Date    May 13, 2024
                                  Signature of attorney for debtor                                                 MM / DD / YYYY

                                  Richard Scott Williams ASB-3234-m63r
                                  Printed name

                                  Rumberger Kirk & Caldwell, PA
                                  Firm name

                                  2001 Park Place North | Suite 1300
                                  Birmingham, AL 35203
                                  Number, Street, City, State & ZIP Code


                                  Contact phone     (205) 572-4926                Email address      swilliams@rumberger.com

                                  ASB-3234-m63r AL
                                  Bar number and State




                    Case 24-10499            Doc 1        Filed 05/13/24 Entered 05/13/24 16:35:35                                 Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                                             Document    Page 4 of 5
Debtor     Ebury Street Capital, LLC                                                         Case number (if known)
           Name




Fill in this information to identify your case:


United States Bankruptcy Court for the:

MIDDLE DISTRICT OF ALABAMA

Case number (if known)                                                   Chapter     11
                                                                                                                      Check if this an amended
                                                                                                                      filing



                                                       FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     EB 1EMIALA, LLC                                                         Relationship to you
District                                              When                         Case number, if known
Debtor     EB 1EMINJ, LLC                                                          Relationship to you
District                                              When                         Case number, if known
Debtor     EB 1EMINY, LLC                                                          Relationship to you
District                                              When                         Case number, if known
Debtor     EB 2EMIALA, LLC                                                         Relationship to you
District                                              When                         Case number, if known
Debtor     EB 2EMIMD, LLC                                                          Relationship to you
District                                              When                         Case number, if known
Debtor     EB 2EMINY, LLC                                                          Relationship to you
District                                              When                         Case number, if known
Debtor     Ebury 1EMI, LLC                                                         Relationship to you
District                                              When                         Case number, if known
Debtor     Ebury 2EMI, LLC                                                         Relationship to you
District                                              When                         Case number, if known
Debtor     Ebury Fund 1 NJ, LLC                                                    Relationship to you
District                                              When                         Case number, if known
Debtor     Ebury Fund 1, LP                                                        Relationship to you
District                                              When                         Case number, if known
Debtor     Ebury Fund 2, LP                                                        Relationship to you
District                                              When                         Case number, if known
Debtor     Ebury RE, LLC                                                           Relationship to you
District                                              When                         Case number, if known
Debtor     Greater Flamingo, LLC                                                   Relationship to you
District                                              When                         Case number, if known
Debtor     RE 1EMI, LLC                                                            Relationship to you
District                                              When                         Case number, if known
Debtor     RE 2EMI, LLC                                                            Relationship to you
District                                              When                         Case number, if known
Debtor     Red Clover 1, LLC                                                       Relationship to you
District                                              When                         Case number, if known


                    Case 24-10499            Doc 1      Filed 05/13/24 Entered 05/13/24 16:35:35                      Desc Main
Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 5
                                                           Document    Page 5 of 5
